Case 2:19-cr-00642-VAP Document 104 Filed 03/31/20 Page 1 of 2 Page ID #:2414


                                                                                       FILED
                                                                             CLERK, U.S. DISTRICT COURT

  1                                                                             MAR. 31, 2020
  2
                                                                           CENTRAL DISTRICT OF CALIFORNIA

  3                                                                                    cc
                                                                             BY: ___________________ DEPUTY



  4
  5
  6
  7
  8
  9                                  UNITED STATES DISTRICT COURT
 10                              CENTRAL DISTRICT OF CALIFORNIA
 11
 12 United States of America,                             Case No. LACR19-00642-VAP
 13                     Plaintiff,
                                                          ORDER ON DEFENDANT’S
 14               vs.                                     UNDER SEAL FILING
 15 Imaad Shah Zuberi,                                    [UNDER SEAL]
 16                     Defendant.
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
      1424232.2                                                            Case No. LACR19-00642-VAP
                                     ORDER ON DEFENDANT’S UNDER SEAL FILING
Case 2:19-cr-00642-VAP Document 104 Filed 03/31/20 Page 2 of 2 Page ID #:2415




  1               For the reasons stated in Defendant Imaad Shah Zuberi’s Motion for Pretrial
  2 Conference Pursuant to Classified Information Procedures Act, it is hereby ordered
  3 that there will be a sealed Pretrial Conference to discuss all issues and procedures
  4 related to potentially relevant classified information on May 4, 2020 at 10:00 a.m.
  5 Accordingly, the Court continues the Sentencing set for May 18, 2020 to June 1, 2020
  6 at 9:00 a.m., with sentencing position papers due no later than May 18, 2020.
  7
  8    Dated: March 31, 2020
  9                                                 HONORABLE VIRGINIA A. PHILLIPS
                                                    UNITED STATES DISTRICT JUDGE
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
      1424232.2
                                                 -1-                   Case No. LACR19-00642-VAP
                                 ORDER ON DEFENDANT’S UNDER SEAL FILING
